               UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF LOUISIANA

KHOLKAR VISHVESHWAR GANPAT,                 CIVIL ACTION
   Plaintiff

VERSUS                                      NO. 18-13556

EASTERN PACIFIC SHIPPING PTE, LTD.,         SECTION: “E” (4)
    Defendant




 NOTICE TO COUNSEL AND PRO SE LITIGANTS:

    The deadlines set forth herein are not "suggestions" but

firm deadlines which will be strictly enforced.




    The Court will not grant motions (whether opposed or

unopposed) to continue these deadlines except under rare

and extraordinary circumstances, and at the Court's sole

discretion.




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                                 SCHEDULING ORDER

       Written reports of experts, as defined by Federal Rules of Civil Procedure

26(a)(2)(B), who may be witnesses for Plaintiffs, fully setting forth all matters about

which they will testify and the basis therefor, shall be obtained and delivered to counsel

for Defendant as soon as possible, but in no event later than July 8, 2022.

       Written reports of experts, as defined by Federal Rules of Civil Procedure

26(a)(2)(B), who may be witnesses for Defendants, fully setting forth all matters about

which they will testify and the basis therefor, shall be obtained and delivered to counsel

for Plaintiff as soon as possible, but in no event later than August 9, 2022.

       With respect to treating physicians, as long as the physician's opinion and

testimony are derived from information learned during the course and scope of the

plaintiff's treatment, the physician is required to produce only an expert disclosure

pursuant to Rule 26(a)(2)(C). Disclosure of such treating physicians must be provided to

counsel for Defendant as soon as possible, but in no event later than August 9, 2022,

by listing the physician in the witness list due that date.

       If the physician's opinion and testimony, however, necessitate the use of

information learned beyond the scope of the plaintiff's treatment, an expert report

pursuant to Rule 26(a)(2)(B) must be provided no later than July 8, 2022.

       Counsel for the parties shall file in the record and serve upon their opponents a list

of all witnesses who may or will be called to testify at trial and all exhibits which may or

will be used at trial no later than August 9, 2022. The Court will not permit any witness,

expert or fact, to testify or any exhibits to be used unless there has been compliance with



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this order as it pertains to the witness and/or exhibits, without an order to do so issued

on motion for good cause shown.

      Plaintiff shall file a memorandum addressing choice of law on or before

Monday, February 28, 2022. Eastern Pacific shall file a memorandum in opposition

on or before Tuesday, March 15, 2022. Plaintiff may file a reply memorandum on or

before Monday, March 21, 2022.

      Depositions for trial use shall be taken and all discovery shall be completed not

later than Tuesday, August 23, 2022. Failure to comply with this order may

result in sanctions pursuant to Rule 37.

      In the event a party believes there is relevant, discoverable information which the

party has been unable to obtain despite diligent efforts, the party may file a motion for

leave of court to conduct additional discovery on or before August 23, 2022.

      All non-evidentiary pretrial motions may be filed as soon as practicable, but must

be filed and served not later than August 30, 2022 to permit a submission date on or

before September 14, 2022. Hard copy deposition transcripts submitted in

support of motions are to be double spaced and on single sided pages.

Electronic versions of deposition transcripts shall be in uncompressed

format as a searchable PDF. All attachments submitted in support of motions

must be legible.

      In addition, the Court reiterates that Local Rules 56.1 and 56.2 require

that every motion for summary judgment must be accompanied by:

(1)   A separate and concise statement of the material facts which the



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      moving party contends present no genuine issue. This statement must

      be limited to facts only, and is not to include any argument.

(2)   A party opposing a motion for summary judgment must specifically

      respond to each statement of fact in the moving party’s statement of

      material facts by admitting or denying each statement. This statement

      must be limited to facts only, and is not to include any argument.

(3)   Any opposition to a motion for summary judgment must also include a

      separate and concise statement of the material facts which the

      opponent contends present a genuine issue. This statement must be

      limited to facts only, and is not to include any argument.

Additionally, each party shall make specific reference to record evidence

supporting its statement of material facts. Citations to record evidence shall

indicate, whenever applicable, an exhibit reference, page reference, and

record document number reference.                 Record evidence not specifically

referred to by the parties may not be considered by the Court. The Court will

not consider motions for summary judgment that do not comply with these

Rules.

       Motions in limine regarding the admissibility of expert testimony shall also be filed

and served as soon as practicable, but must be filed and served no later than August 30,

2022 to permit a submission date on or before September 14, 2022.

      All other motions in limine and memoranda in support shall be filed on or before

October 20, 2022, and responses thereto shall be filed on or before October 27, 2022.



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       Motions filed in violation of this order will not be considered unless good cause is

shown. In addition, the Court reiterates that Local Rule 7.4 requires leave of court to file

a reply to a respondent’s opposition. The Court will not consider any additional responses

after that reply unless good cause is shown.

       Dispositive motions and all motions in limine (expert and otherwise) shall conform

to the following requirements in addition to those found in the Local Rules. Any brief

or memorandum that has more than 10 pages must contain all items listed

below. Briefs and memoranda that are 10 pages or less must contain items

(3), (4), (6), and (7) listed below.

       1. A table of contents setting forth the page number of each section, including
          all headings designated in the body of the brief or memorandum.
       2. A table of citations of cases, statutes, rules, textbooks, and other authorities,
          alphabetically arranged.
       3. A short statement of the nature and stage of the proceeding.
       4. A statement of the issues to be ruled on by the Court and, with respect to each
          issue, a short statement, supported by authority, of the standard of review.
       5. A short summary of argument.
       6. The argument shall be divided under appropriate headings succinctly
          setting forth separate points.
       7. A short conclusion stating the precise relief sought.

       Any motion containing more than 50 pages (including all exhibits and

attachments) shall be submitted to the Court in a binder, with tabs for

exhibits, within 72 hours of filing on CM/ECF. The hard copy of the submissions

must be printed from CM/ECF so that it has the CM/ECF document header on all pages

indicating the case number, record document number, filing date, and page number. The

cover of the binder must include the case name, case number, document name, and record

document number. If there are more than five (5) exhibits and attachments, the binder



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must include a table of contents describing each exhibit and attachment and listing which

tab corresponds to each exhibit or attachment.

       Counsel must contact the assigned Magistrate Judge as soon as possible for the

purpose of scheduling a settlement conference which must be held not later than two

weeks prior to the pretrial conference. All counsel shall have responsibility for scheduling

this conference, and shall be subject to possible sanctions for failure to timely set a

convenient date and time on the calendar of the assigned Magistrate Judge.               The

conference shall be timely set and held regardless of pending motions, anticipated rulings,

or any other deadlines set in this matter. Only the Magistrate Judge, in his or her

discretion, shall have the authority to cancel and/or reset the settlement conference.

       Whenever a case is settled or otherwise disposed of, counsel must

immediately inform the clerk's office, the judge to whom the case is allotted,

and all persons subpoenaed as witnesses. If a case is settled as to fewer than

all parties or all claims, counsel must also identify the remaining parties and

unsettled claims.

       This case does not involve extensive documentary evidence, depositions or other

discovery. No special discovery limitations beyond those established in the Federal Rules

or the Local Rules of this Court are established.

       A Final Pretrial Conference will be held on October 20, 2022 at 12:00 p.m.

Counsel shall be prepared in accordance with the final Pretrial Notice attached. The

pretrial order must be filed by 5:00 p.m. on a day that allows two full working days prior

to the conference, excluding Saturdays, Sundays, and holidays.          The pretrial order



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submitted to the Court must be double spaced and signed by all counsel. The parties shall

comply with all deadlines stated in the pretrial notice and herein, including without

limitation, the deadline for filing briefs on objections to exhibits and on objections to

deposition testimony.

       Trial will commence the week beginning Monday November 7, 2022 at

9:00 a.m. before the District Judge with a jury. Attorneys are instructed to report for

trial not later than 30 minutes prior to this time. Trial is estimated to last 5 days.

       Deadlines, cut-off dates, or other limits fixed herein may be extended only by the

Court upon timely motion filed in compliance with the Local Rules and upon a showing

of good cause. Trial will not be continued, even on joint motion, absent good

cause or compelling reason. Likewise, trial will not be continued because of the

unavailability of a witness. Counsel should anticipate such possibilities and be prepared

to present testimony by written deposition, videotaped deposition, or by stipulation. If,

however, a continuance of the trial is granted, deadlines and cut off dates will be re-set by

the Court.

       The pretrial deadlines in this case, as set forth herein and in the attached

pretrial notice, include the following. Counsel are to consult the pretrial notice for

additional detail.

 Settlement Conference                       Parties are to contact the assigned
                                             Magistrate Judge as soon as possible to
                                             schedule not later than two weeks prior to
                                             the pretrial conference
 Plaintiff’s memorandum addressing           Filed and served no later than February
 choice of law matters                       28, 2022



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Defendant’s opposition to Plaintiff’s       Filed and served no later than March 15,
choice of law memorandum                    2022
Plaintiff’s reply in support of choice of   Filed and served no later than March 21,
law memorandum                              2022
Plaintiff’s expert reports                  Delivered to defense counsel by July 8,
                                            2022
Defendant’s expert reports                  Delivered to plaintiff’s counsel by August 9,
                                            2022
Witness lists                               Filed and served upon opponents by August
                                            9, 2022
Each witness must be identified by
name and address. The listing of a
witness as a representative of an entity
is not sufficient

See pretrial notice at p. 8
Exhibit lists                               Filed and served upon opponents by August
                                            9, 2022
Each exhibit must be listed with
specificity and be Bates numbered.
Broad, general categories of exhibits
are not sufficient

See pretrial notice at pp. 5-6
Depositions and discovery                   Completed by August 23, 2022

Failure to comply with this order
may result in sanctions pursuant
to Rule 37
Motion for leave of court to conduct        Filed and served no later than Tuesday,
additional discovery                        August 23, 2022 at 5:00 p.m.




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Non-evidentiary pretrial motions and      Filed and served no later than August 30,
motions in limine regarding the           2022
admissibility of expert testimony         (in sufficient time to permit a submission
                                          date on or before September 14, 2022)
See Scheduling Order at p. 3
regarding the format of
depositions
Responses/oppositions to non-             Filed and served no later than September
evidentiary pretrial motions and          6, 2022
motions in limine regarding the
admissibility of expert testimony
Pretrial order                            Filed by Monday, October 17, 2022 at
                                          5:00 p.m.
Any exhibits to be used solely for
impeachment must be presented
to the Court for in camera review
by this deadline. See Section
IX.10.b of the pretrial notice
Pretrial conference                       October 20, 2022 at 12:00 p.m.

Attended by lead attorney. (See
Local Rule 11.2)
Motions in limine (other than those       Filed no later than October 20, 2022 at
regarding the admissibility of expert     5:00 p.m.
testimony) and memoranda in support
Final list of witnesses to be called at   Filed no later than October 27, 2022 at
trial                                     5:00 p.m.
Responses to motions in limine            Filed by October 27, 2022 at 5:00 p.m.


Joint statement of the case               Filed by October 31, 2022 at 5:00 p.m.

See pretrial notice at p. 8




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Joint jury instruction (or if agreement       Filed and emailed to the Court by October
cannot be reached, counsel shall              31, 2022 at 5:00 p.m.
provide alternate versions with respect
to any instruction in dispute, with its
reasons for putting forth an alternative
instruction and the law in support
thereof

See pretrial notice at p. 9
Joint proposed jury verdict form (or if       Filed by October 31, 2022 at 5:00 p.m.
agreement cannot be reached, separate
proposed jury verdict forms and a joint
memorandum explaining the
disagreements between the parties as
to the verdict form)

See pretrial notice at p. 9
Proposed special voir dire questions          Filed by October 31, 2022 at 5:00 p.m.

See pretrial notice at p. 9
Objections to exhibits and supporting         Filed by October 31, 2022 at 5:00 p.m.
memoranda

NOTE: Each objection must identify
the relevant objected-to exhibit by the
number assigned to the exhibit in the
joint bench book(s)

See pretrial notice at p. 5
Two copies of joint bench book(s) of          Delivered to the Court by October 31, 2022
tabbed exhibits, with indices of              at 5:00 p.m.
"objected-to" and "unobjected-to"
exhibits, identifying which party will
offer each exhibit and which witness
will testify regarding the exhibit at trial

See pretrial notice at pp. 5-6




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Objections to deposition testimony and   Filed by October 31, 2022 at 5:00 p.m.
supporting memoranda

See pretrial notice at p. 6 with
particular attention to
instructions regarding the format
of depositions
Responses to objections to exhibits      Filed by November 2, 2022 at 5:00 p.m.

See pretrial notice at p. 5
Responses to objections to deposition    Filed by November 2, 2022 at 5:00 p.m.
testimony

See pretrial notice at p. 6
If counsel intends to ask questions on   The factual elements of such questions shall
cross-examination of an economic         be submitted to the expert witness by
expert which require mathematical        November 2, 2022 at 5:00 p.m.
calculations

See pretrial notice at p. 8
Copies of any charts, graphs, models,    Provided to opposing counsel by November
schematic diagrams, and similar          2, 2022 at 5:00 p.m.
objects intended to be used in opening
statements or closing arguments

See pretrial notice at p. 7
Objections to any charts, graphs,        Filed by November 3, 2022 at 5:00 p.m.
models, schematic diagrams, and
similar objects intended to be used by
opposing counsel in opening
statements or closing arguments

See pretrial notice at p. 7




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 Jury trial                                     November 7, 2022 at 9:00 a.m.
                                                (estimated to last 5 days)
 Whenever a case is settled or otherwise
 disposed of, counsel must immediately
 inform the clerk's office, judge to whom
 the case is allotted, and all persons
 subpoenaed as witnesses. If a case is
 settled as to fewer than all parties or all
 claims, counsel must also identify the
 remaining parties and unsettled claims.

 See Local Rule 16.4



       IT IS FURTHER ORDERED that food and/or drink (including bottled water)

shall be prohibited from the Section “E” courtroom (and any other designated “overflow”

location); likewise, attendees shall refrain from chewing gum and wearing hats and/or

sunglasses in the Section “E” courtroom and shall remove same upon entry. Eating,

smoking, and/or reading newspapers or other impertinent books, magazines, etc. in the

Section “E” courtroom is strictly prohibited.

       IT IS FURTHER ORDERED that any attempt to comment on or portray

(positively or negatively) an opinion of the evidence, a witness, the attorneys, or the

position of any party to these court proceedings through physical gestures; facial

expressions; audible reactions; or pre-planned, organized or orchestrated selection of

attire in the courtroom, shall be prohibited. Offenders shall summarily be excused from

the courtroom, sanctioned, or both.



                                               SUSIE MORGAN
                                               UNITED STATES DISTRICT JUDGE



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Issued for the Court by:

Brad Newell
Case Manager - Section "E"
504-589-7714




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